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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


 DANTÉ GORDON, individually and on behalf of all   Civil Action No. 4:19-cv-00585
 others similarly situated,
                                                   JOINT STATUS REPORT
                            Plaintiff,
                                                   Judge: Honorable Lee H. Rosenthal
        v.

 SIG SAUER, INC.,

                            Defendant.
      Case 4:19-cv-00585 Document 71 Filed on 11/10/21 in TXSD Page 2 of 2




       Plaintiff Danté Gordon (“Plaintiff”) and Defendant SIG Sauer, Inc. (“Defendant”) hereby

submit this Joint Status Report. The Parties have resolved this matter and anticipate filing a

stipulated dismissal within the next two weeks. Accordingly, the status conference currently

scheduled for November 12, 2021 is no longer necessary.



 Dated: November 10, 2021                            Respectfully submitted,

                                                     BURSOR & FISHER, P.A.

                                                     By:     /s/ Joseph I. Marchese
                                                                 Joseph I. Marchese

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                                                     ATTORNEY-IN-CHARGE FOR
                                                     PLAINTIFF DANTE GORDON,
                                                     INDIVIDUALLY AND ON BEHALF OF
                                                     ALL OTHERS SIMILARLY SITUATED


 Dated: November 10, 2021                            Respectfully submitted,

                                                     SHOOK, HARDY & BACON, LLP

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